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H!.ED ssng D.C_

IN THE UNITED STATES DISTRICT COURT

 

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG
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UNDRAY BRADLEY,

Petitioner,
vs. No. 05-2348~Ml/V
T.C. OUTLAW,

Respondent.

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ORDER CORRECTING THE DOCKET
AND
ORDER DIRECTING PETITIONER TO FILE AN §§ FORMA PAUPERIS AFFIDAVIT
OR PAY THE HABEAS FILING FEE

 

Petitioner Undray Bradley, Bureau of Prisons inmate
registration number 02758-025, an inmate at the Federal Prison Camp
in Millington, Tennessee (“FPC-Millington”), filed a p;g §§
petition, addressed to the United States Court of Appeals for the
Seventn Circuit and entitled “Motion under 28 U.S.C. § 2244,” in
the United States District Court for the Southern District of
Illinois on April 21, 2005. On May 5, 2005, District Judge J. Phil
Giibert issued an order Construing the filing as a petition
pursuant to 28 U.S.C. § 2241 and transferring it to this district,

where the Petitioner's Custodian is located. The petition was

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With Rule 58 and/or 79(3) FFICP on v 105 @w

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docketed in this district on May 9, 2005. The Clerk shall record
the Respondent as FPC-Millington Warden T.C. Outlaw.1

A habeas petition carries a filing fee of five dollars
($5.00). 28 U.S.C. § l9l4(a). Bradley’s petition is not accompanied
by either the filing fee or a motion to proceed ip fp;ma pauperis.2
Accordingly, Bradley is ORDERED either to submit a properly
completed.ip_§ppma pauperis affidavit demonstrating his indigency,
along with an inmate trust fund account statement, or pay the
filing fee within thirty (30) days of the date of entry of this
order. The Clerk is ORDERED to mail a copy of the prisoner ip_fppma
pauperis affidavit to Petitioner along with this order.3 Failure to
timely comply with any requirement of this order will result in
dismissal of the petition without further notice for failure to
prosecute.

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IT rs so oRDERED this 10 day of ms 2005.

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ON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

1 As this filing is a habeas petition, rather than an application to

file a second or successive § 2255 motionr the proper respondent is the warden
of the prison where the petitioner is incarcerated. §§§ Rumsfeld v. Padilla, 124
S. Ct. 2711, 2718 {2004). The Clerk is ORDERED to remove the United States of
America as a party to this action.

2 The Clerk of the United States District Court for the Southern
District of Illinois sent Bradley a letter, dated April 25, 2005, advising him
of the deficiency and notifying him that his case would be dismissed if it were
not cured within thirty days.

3 In the interest of expediting this matter, Petitioner is advised

that, if his inmate trust fund account has a balance of at least twenty-five
dollars ($25.00), an application to proceed ip forma pauperis will be denied.

2

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02348 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

Undray Bradley
02758-025

P.O.Box 2000
Millington, TN 38083

Honorable J on McCalla
US DISTRICT COURT

